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 8   Attorneys for MGA Entertainment, Inc.
 9
                          UNITED STATED DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11
12
     CARTER BRYANT, an individual,            )   CASE NO. CV 04-9049 SGL (RNBx)
13                                            )
                              Plaintiff,      )   DISCOVERY MATTER
14                                            )
                 v.                           )   MGA'S REPLY MEMORANDUM IN
15                                            )   SUPPORT OF ITS MOTION TO
     MATTEL, INC., a Delaware                 )   COMPEL MATTEL TO PRODUCE
16   corporation,                             )   WITNESSES PURSUANT TO
                                              )   NOTICE OF DEPOSITION UNDER
17                            Defendant.      )   RULE 30(b)(6), OR, IN THE
                                              )   ALTERNATIVE, FOR LEAVE TO
18                                            )   SERVE SUCH NOTICE
19                                            ) [To be heard by Discovery Master
     AND CONSOLIDATED ACTIONS                 ) Hon. Edward Infante (Ret.) Pursuant
20                                            ) to Court Order of December 6, 2006]
21                                                Hearing Date: TBD
                                                  Time: TBD
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         MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1 INTRODUCTION ..................................................................................................1
 2 ARGUMENT..........................................................................................................2
 3            I.      The Court Should Compel Mattel to Produce Witnesses Pursuant
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 5                    A.       MattelCa   te g o ric a llyRe    f u se dt  oDi    sc u ssMGA’        s3   0 (b )(6)
                               Notice. ......................................................................................2
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                      B.       Mattel Has Been Given Leave to Serve Two Additional
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                               Were Filed, and Has Now Served Six toMGA’ sZero. .............3
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                      C.       Mattel Seeks to Establish a Double Standard of Discovery. ......4
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                               1.       Mattel Flouts the Meet and Confer Process, Then
10                                      Seeks to Use it as a Weapon Against MGA. ...................4
11                             2.       Mattel Seeks to Apply a Different Set of Rules to
                                        MGA than to Its Own Offensive Discovery. ...................5
12
                      D.       The Breadth, Burden and Potential for Duplicative
13                             Dis coveryofMGA’    s47De p osit
                                                              ion Topics Is Less Than
                               that Imposed by the 291 Topics Served by Mattel on MGA,
14                             MGA Mexico and MGA HK. ...................................................6
15                             1.       Topi csCon  t
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                                        or Similar Language........................................................6
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18
                               4.       Topics Purportedly Similar to Contention
19                                      Interrogatories...............................................................10
20                    E.       Ma tt
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                                              ont oCe rtainofMGA’       sSt   a tu teof
                               Limitations-Relat
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21                             Discovery It Had Refused to Provide a   tt h eTi   meMGA’           s
                               Motion Was Filed Is Misleading. ............................................11
22
     CONCLUSION ....................................................................................................11
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            MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1                                    INTRODUCTION
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 5 moving papers, during the meet-and-confer process, Mattel refused to undertake any
 6 discussion of the depositions themselves, insisting simply tha
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 8 refused even to discuss deposition topics with MGA, Mattel may not now in good
 9 faith use those topics –muc
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                                         et-and-confer requirements –to
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10 seek denial of MGA’ e
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11 on this basis alone. Further, Mattel espoused its absolutist position despite having
12 served three 30(b)(6) notices on MGA, a fourth served on MGA Hong Kong affiliate,
13 and having prevailed on the same arguments now made by MGA.
14                Ma
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                          ed,Judge Larson has given Mattel leave to
16 serve two more notices of 30(b)(6) depositions on MGA, bringing the running total
17 of 30(b)(6) notices served by Mattel to six, including 291 separate topics. In light of
18 the enormous breadth and burden of discovery sought by Mattel, its protestations
19 a
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     nstMGA’
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              icein this regard ring hollow. Indeed, as demonstrated below,
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21                Mattel devotes the considerable bulk of its opposition papers to arguing
22 that the 30(b)(6) deposition topics that MGA has served on Mattel are unduly
23 burdensome, overbroad, duplicative or otherwise improper. These objections are not
24 well taken in light of the history of discovery in the present case, and in particular
25 Ma
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                nserving 30(b)(6) deposition notices on MGA. As
26 demonstrated below, the 291 deposition topics that Mattel has served on MGA are at
27 least equally burdensome, broad and duplicative.
28
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         MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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     limitations and laches defenses. As a result, Mattel can hardly be heard to complain
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     that discovery to which it refused to consent renders MGA’
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           bjections have now been overruled, and no deposition on “
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 6
     topics will be necessary. MGA has always been and remains willing to discuss with
 7
     Mattel a reasonable narrowing of issues. However, when MGA sought to do so, it
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                 In the context and history of this litigation, Ma
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     MGA’
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          rst notice of deposition pursuant to Rule 30(b)(6) represents an improper
11
     attempt by Mattel to impose a double-standard under which Mattel is permitted to
12
     notice hundreds of far-ranging deposition topics while MGA may notice none.2 The
13
     Court should reject Ma
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                            l’sgambit and grant the requested relief, with costs.
14
                                        ARGUMENT
15
     I.    The Court Should Compel Mattel to Produce Witnesses Pursuant to
16         MGA’ sNo  t
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                                 on.
17         A.    Mattel Categorically Refused to Discuss MGA’
                                                            s30(b)(6) Notice.
18               In its opposition papers, Mattel argues that i
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20 under Rule 30(b)(6). This claim is not only false, but directly contradicted by
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22 On December 20, 2007, Mattel’ a
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24     Mattel’sr epresent
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                                              ei sMGA’   sthird notice of deposition of
     Mattel pursuant to Rule 30(b)(6 )
                                     ”(Opp .at2( emph a si
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25   simply false. MGA has served only one such notice, the one at issue in this motion.
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26   unwilling to devote any time to meetandc onferont  hea pp r
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                    tions,ith asnowde  l
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27   page limitations and many hundreds of pages of exhibits and other supporting
     documents.
28   3
       Opp. at 5.
                                            -2-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1
     counsel summarizing the meet and confer conference that had taken place earlier that
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     day.4 Mr
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                 sletter reiterated Ma
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 3
                 MGA’    sNotice of Deposition of [Mattel] is a nullity given
 4               that it seeks to depose a person more than once without
                 leave of court in violation of Rule 30. […]I responded to
 5               your request about producing a witness on Phase 1, as
                 opposed to Phase 2 topics, by saying   that a discussion of
 6               the specific topics was premature.5
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 8 in fact refused to do so,a
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 9 topics, even after MGA had unilaterally narrowed the number of topics on which it
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10 sought to depose Mattel from 86 to 47. Mr
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11 invited MGA to show good cause why MGA was entitled to testimony on any of the
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12 t
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     cs” is thus belied by his own letter. Nothing of the kind took place.8
13         B.    Mattel Has Been Given Leave to Serve Two Additional 30(b)(6)
                 Depositio
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14               Has Now Served Six toMGA’  sZero.
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16 pages of supporting documents is any reference to the fact that –in addition to the
17 three 30(b)(6) notices that had already been served by Mattel on MGA –since the
18 present motion was filed, Mattel has served two additional 30(b)(6) notices: a fourth
19 notice upon MGA, and a further notice on MGAE de Mexico, S.R.L. DE C.V
20 (
   “MGAMe
        xic
          o”.9 These new notices of deposition contain a total of 160 additional
            )
21
     4
22     Mumford Decl, Ex. 13.
     5
       Id. at 2 (emphasis added).
23   6
       See Mumford Decl., Ex. 12.
     7
24     Corey Decl. ¶ 8.
     8
25     Declaration of Thomas E. Haroldson in Further Support of MGA's Motion To
     Compel Production of 30(b)(6) Witnesses ("Haroldson Decl.") ¶¶ 1-3; Declaration of
26   Paul Eckles in Further Support of MGA's Motion To Compel Production of 30(b)(6)
     Witnesses ("Eckles Decl.") ¶¶ 1-3.
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27     At tach eda sExhibi t15tot h
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     January 7, 2008 Order. That Order, among other things, grants Mattel leave to serve
28   two additional 30(b)(6) deposition notices. Id. at 3. Exhibits 16 and 17 to the 2nd
     Mumford Decl. are these two new deposition notices, served on MGA and MGA
                                              -3-
         MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1
     deposition topics.10 In addition, Mattel had already served 61 topics under Rule
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     30(b)(6) on MGAEn
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                                 d.(
                                   “MGAHK”
                                         ).   Thus, Mattel has now
 3
     served six separate notices of deposition under Rule 30(b)(6) on MGA and its
 4
     affiliates, containing a total of 291 topics.12 In contrast, Mattel refuses to
 5
     acknowledge a single such notice or deposition topic served by MGA. Indeed, there
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     specifically object in its voluminous opposition papers. MGA also notes that
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               onin its brief that MGA has served three notices of deposition
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     pursuant to Rule 30(b)(6)13 is unsupported and simply false.
10
           C.     Mattel Seeks to Establish a Double Standard of Discovery.
11
                  1.     Mattel Flouts the Meet and Confer Process, Then Seeks to Use it
12                       as a Weapon Against MGA.
13                Incongruously, having refused to discuss “
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         et-and-confer requirements, insisting that MGA demonstrate to the
16 Discovery Master what Mattel refused to discuss: the particulars of why MGA needs
                                                   14
17 the 30(b)(6) deposition it has served on Mattel. Mat
                                                      te
                                                       l’sintransigence on this issue
18 has compelled MGA to bring this motion, and forced the Discovery Master to deal
19 with an issue more properly agreed upon –or at least discussed –between the parties.
20 Mattel should not be rewarded for its refusal to meet-and-confer on the topics set
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     hinMGA’
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             tieand subsequent meet-and-confer request.15
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23
     Mexico respectively. Exhibits to the 2d Mumford Decl. are numbered in sequence to
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     10
        See 2d Mumford Decl., Exs. 16, 17.
25   11
        2d Mumford Decl., Ex. 18.
     12
26      See 2d Mumford Decl., Exs. 16-18; Mumford Decl., Exs. 3, 6, 7.
     13
27      Opp. at 2.
     14
        Id. at 5.
28   15
        See Mumford Decl., Ex. 12.
                                             -4-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1                2.    Mattel Seeks to Apply a Different Set of Rules to MGA than to
                        Its Own Offensive Discovery.
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 3
     complete about-face from its prior legal position on 30(b)(6) notices. When Mattel
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     sought to notice its third set of 30(b)(6) deposition topics on MGA, Mattel argued
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     person for a second [sic] time does not apply to 30(b)(6) depositions.”  Contrary to
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 9
     argues the opposite position: that MGA, although it has not previously served a
10
     single notice of deposition on Mattel, must nonetheless seek leave of court, because
11                                                                   19
     “                                                              ”
     [a] different rule does not apply for Rule 30(b)(6) depositions.
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     suggesting an exception [to the one-deposition rule] for depositions of
14            20
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            s”   is false. Not only did MGA provide such authority,21 Mattel itself
15
     relied on the same authority when it argued in support of its Third Notice of
16
     Deposition on MGA: Quality Aero Tech., Inc. v. Telemetrie Elektronik, 212 F.R.D.
17
     313, 319 (E.D.N.C. 2002).
18
                  With considerable success, Mattel has fought at every turn in this case
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21   16
      Mumf  ordDe  cl.,Ex .9,Ma  tt
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22 MGAt   oPr  odu ceWi  t
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   Rule 30(b)(6) and for Sanctions, at 4 (underlining added, italics in original).
23 17
      Opp. at 1.
   18
24    Mumfor  dDe  cl.,Ex .10,Or d erGr  an tingi nPa r
                                                      ta ndDe   nyinginPa  rtMa ttel
                                                                                   ’s
   Motion to Compel MGA to Produce Witnesses Pursuant to Third Notice of
25 Deposition Under Rule 30(b)(6), at 266.
   19
26 20 Opp. at 2 (emphasis added).
      Id.
27 21
      MGA’  sMot   i
                   ont oComp   elMa   t
                                      telt oPr o duce Witnesses Pursuant to Notice of
28 Deposition  Under   Rule 30(b)(6), or, in the Alternative, for Leave to Serve Such
   Notice, at 5, n.18.
                                               -5-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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     million have been produced by MGA, at very considerable effort and expense.23 In
 3
     the context and history of discovery in this case, including the 291 30(b)(6)
 4
     deposition topics it has already served on MGA, MGA Mexico and MGA HK,
 5
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             estations of over-breadth, burden, and potentially duplicative discovery
 6
     improperly seek to apply a double standard, under which Mattel would have the
 7
     Court deny to MGA precisely the sort of discovery that Mattel itself has already
 8
     succeeded in imposing on MGA.
 9
           D.     The Breadth, Burden and Potential for Duplicative Discovery of
10                MGA’  s47 Deposition Topics Is Less Than that Imposed by the 291
                  Topics Served by Mattel on MGA, MGA Mexico and MGA HK.
11
                  1.    TopicsCon t
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12                      Language.
13                Mattel complains that 21 of MGA’
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14 “
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                        o.”  Mattel does not mention that it has itself
15 already noticed 83 topics on MGA and MGA Mexico that include one or more uses
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                        ormit has already used in nearly four times as many
18 topics is typical of the double standard Mattel seeks to apply on this issue.
19                2.    Purportedly “
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                                               s.
20                Mattel complains that some of the 47 topics for which MGA seeks
21 testimony would be unduly burdensome, but in the context of this case, and
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23 topics, Mattel cannot show that the bur
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24 disproportionate or unwarranted by the complexity of the case.
25
     22
26    Corey Decl. ¶ 3.
     23
27 24 Haroldson Decl. ¶ 4.
      Opp. at 17.
28 25
      See Mumford Decl. Exs. 3, 6, 7; 2d Mumford Decl., Exs. 16, 17.
                                           -6-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
Case 2:04-cv-09049-DOC-RNB Document 1553 Filed 01/17/08 Page 9 of 14 Page ID
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                            .   Yet Mattel has recently noticed similar,
 4
     yet far broader discovery:
 5
                  20. Any complaints or dissatisfaction concerning the
 6                CONTESTED MGA PRODUCTS, including but not
                  limited to the returns of, or the number of or rate of defects
 7                for, such products.27
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                       CONTESTEDMGAPRODUCTS”a
                                            redefined to
11 include
12                CONTESTED BRATZ DOLLS PRODUCTS, the
                  CONTESTED BRATZ PETZ PRODUCTS, the
13                CONTESTED BRATZ FUNKY FASHION MAKEOVER
                  HEAD, the CONTESTED 4-EVER BEST FRIENDS
14                PRODUCTS,t      heCONTESTEDMOMMY’              SLI TTLE
                  DOLL PRODUCTS, and the CONTESTED
15                ALIENRACERS PRODUCTS, and any other doll product,
                  toy, packaging, advertisement or other matter that, in whole
16                or in part, provides a basis for any claim or defense by
                  YOU against MATTEL.28
17
     Each capitalized term in this definition is in turn defined in broad terms, such that
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19
     show hosts, etc. –any entity that ever comes into contact with or has anything to say
20
     about any of these products at any stage –are covered by the topic.
21
                  Continuing with Ma
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22
     Mattel has noticed the following deposition on MGA with nearly the same phrasing,
23
     but relating to BRATZ rather than Mattel products:
24
                  95. Except for deposition testimony provided in this
25                ACTION, the testimony, transcripts, declarations,
                  affidavits and other sworn written statements of any other
26
     26
27    Mumford Decl., Ex. 1 at A-22-23.
     27
      2d Mumford Decl., Ex. 16 at 16 (emphasis added).
28 28
      Id. at 6.
                                          -7-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1               type by or from YOU or made on YOUR behalf that a
                 REFER OR RELATE TO BRATZ and that REFER OR
 2               RELATE TO the time period prior to June 30, 2001
                 (regardless of when such testimony or   sworn statement was
 3               taken, given, signed, made or filed).29
 4               3.     Purportedly “
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 6 previously noticed by Bryant, yet Ma
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                                                            (6)deposition
 7 on MGA includes a number of topics that duplicate Ma
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                                                        l’sown previously-noticed
 8 topics. For example, Topi
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                                               ,quoted on the preceding
 9 page, is duplicative of Topi
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10               34. Other than those previously filed and served in this
                 ACTI  ONo   rinwh  ichMa   t
                                            tel,Inc.’scounseli nthis
11               ACTION was in attendance, the testimony, transcripts,
                 declarations, affidavits and other sworn written statements
12               of any other type by or from YOU or made on YOUR
                 behalf that REFER OR RELATE TO BRATZ THAT
13               REFER OR RELATE TO the time period prior to June 30,
                 2001 (regardless of when such testimony or sworn 30
14               statement was taken, given, signed, made or filed).
15               Tot
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                                              eincludes the following
16 topic:
17               13. Any copyright, patent, design right or any other
                 registration or application for registration of the
18               CONTESTED MGA PRODUCTS, including but not
                 limited to all COMMUNICATIONS relating thereto, and
19               all filings, declarations, affidavits, correspondence, notes
                 and other DOCUMENTS relating thereto.31
20
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21
                 33. The applications for registration and the registrations
22               for copyright, patent, trademark or any other right that
                 REFER OR RELATE TO BRATZ or BRATZ DESIGNS
23               sought, made or obtained by, for or on behalf of YOU or
                 BRYANT, including without limitation 32
24               COMMUNICATIONS pertaining thereto.
25
     29
26    Id. at 24-25.
     30
27 31 Mumford Decl., Ex. 6 at 10.
      2d Mumford Decl., Ex. 16 at 15 (emphasis added).
28 32
      Mumford Decl., Ex. 6 at 10 (emphasis added).
                                           -8-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1
                 To take a third example, Topic 10f
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 2
                 10. The tooling and manufacture of any of the
 3               CONTESTED MGA PRODUCTS, including but not
                 limited to all invoices, contracts, sales orders, purchase
 4               orders and payment relating thereto and including but not
                 limited to all DOCUMENTS relating to the engineering,
 5               preparation, fabrication and creation of the molds and face
                 paint masks used in connection therewith and to the film
 6               and/or digital  files used in connection with the packaging
                 therefor.33
 7
     This duplicates topics 7, 12 and 13 f
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 8
                 7. The identity of, and the design, development, sculpting,
 9               development, engineering, rotocasting, modeling,
                 prototyping and first sale of, any doll, product, work or
10               item that has been produced, developed, manufactured,
                 licensed, sold or offered for sale by, for or on behalf of
11               YOU and that was BASED ON any DESIGN [of Carter
                 Bryant].
12
                 12. The actual, proposed, requested or contemplated
13               manufacture, fabrication or tooling (including the
                 production of molds) of BRATZ, including without
14               limitation the timing thereof and the IDENTITY of each
                 manufacturer and potential manufacturer used, proposed or
15               considered.
16               13. COMMUNICATIONS prior to June 30, 2001 between
                 YOU and any manufacturer, distributor, wholesaler,
17               retailer, or any contemplated, proposed or potential
                 manufacturer, distributor, wholesaler or retailer, that
18               REFER OR      RELATE TO BRATZ or any BRATZ
                 DESIGN.34
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20
                 7. The first date of manufacture, shipment and availability
21               for distribution and retail sale of each of the CONTESTED
                 MGA PRODUCTS.35
22
     … which is highly similar to Topic 14 f
                                           rom Ma
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                                                  ’sSecond Notice:
23
                 14. When and where BRATZ was first manufactured,
24               shipped, distributed and sold, and the36IDENTITIES and
                 roles of PERSONS involved therein.
25
     33
26    2d Mumford Decl., Ex. 16 at 15 (emphasis added).
     34
27 35 Mumford Decl., Ex. 6 at 7-8 (emphasis added).
      2d Mumford Decl., Ex. 16 at 14.
28 36
      Mumford Decl., Ex. 6 at 8.
                                           -9-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 2
     deposition topics, it is sufficient to demonstrate the double standard Mattel seeks to
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 4
                  4.    Topics Purportedly Similar to Contention Interrogatories.
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                  Mattel also bemoans t
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 6                                                                 37
     related to the bases for the claims and defenses in this case.”  Mattel cites eight of
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11
     similar language.39 Similarly, Mattel’
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12
     topics regarding Ma
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17
     asks for:
18
                  88. The factual bases for YOUR affirmative defenses.41
19
     That is the entirety of Topic 88. Topic 26 is even more sweepingly vague:
20
                  26. To the extent not disclosed in response to any other
21                Topic, all other facts RELATING TO any claim made by
                  YOU against MATTEL or the CONTESTED MATTEL
22                PRODUCTS, and the       IDENTITY of all PERSONS with
                  knowledge thereof.42
23
     37
24      Opp. at 23.
     38
25      Id. at 24, n.55.
     39
        2d Mumford Decl., Ex. 16 at 20-21,23-24 (Topics 49, 50, 52, 53, 55, 56, 58, 59, 84,
26   85, 88, 90).
     40
27      Id. at 17, 21-22 (Topics 25, 64-68, 72, 74, 76, 77).
     41
        2d Mumford Decl., Ex. 16 at 24.
28   42
        Id. at 17.
                                               -10-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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 1
     This topic apparently solicits testimony encompassing “
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        heCONTESTEDMATTELPRODUCTS, and the IDENTITY of all
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                          ”   Having noticed these types of deposition
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 5
           E.     Mattel’sObj  e
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                                 ionto Certain of MGA’sStatute of Limitations-
 6                Related To picsas“Dupl i
                                         cative”o fOther Discovery It Had Refused
                  to Provide attheTimeMGA’    sMo  t
                                                   ionWa sFi le
                                                              dIs Misleading.
 7
                  Mattel argues that MGA’
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 8
     statute of limitations and laches defenses are duplicative.44 Mattel neglects to
 9
     mention, however, that at the time MGA filed its motion, Mattel had refused to
10
     assent to any discovery on these issues. Mattel can hardly be heard to object that a
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                                imonythat has never taken place. Since this
12
     motion was filed, the Discovery Master has ordered Mattel to produce witnesses as
13
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                cedtopics relating to these defenses.
14
                  MGA does not seek duplicative testimony, but a reasonable discovery
15
     plan that will allow both parties –not just Mattel –to develop their respective cases.
16
     MGA, now as ever, is prepared to discuss with Mattel a reasonable narrowing of
17
     issues, on both sides, that will allow such discovery to be taken. In the absence of
18
     any cooperation from Mattel on this issue, however, MGA is compelled to seek from
19
     the Court the relief requested by the present motion.
20
                                        CONCLUSION
21
                  For the foregoing reasons, MGA respectfully requests this Court to
22
     issue an order compelling Mattel to produce wi
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23
     with costs. Alternatively, MGA respectfully requests leave to serve its Notice of
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26   43
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27 contention-related deposition topics would fall und  erMa t
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                                                                                imony
   likely to be in possession of the requesting party. See Opp. at 22-23.
28 44
      Opp. at 5-7.
                                              -11-
          MGA'S REPLY IN SUPPORT OF MOTION TO COMPEL PRODUCTION OF 30(B)(6) WITNESSES
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